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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                               Plaintiff,
                                                            No. 19-cv-2379 (KBJ)
           v.

 DONALD F. MCGAHN II,

                               Defendant.


                     PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                       MOTION FOR A STAY PENDING APPEAL

       On November 25, 2019, this Court issued a thorough and well-reasoned opinion rejecting

the Department of Justice’s threshold arguments that the House Committee on the Judiciary

lacks standing and the right to enforce its subpoenas in federal court, and holding that Donald F.

McGahn II is not absolutely immune from compelled Congressional testimony. As this Court

explained, it reached the same conclusions and rejected the same arguments here that had

previously been urged by the Department and rejected by other judges of this Court in

Committee on Judiciary v. Miers, 558 F. Supp. 2d 53 (D.D.C. 2008) and Committee on Oversight

and Government Reform v. Holder, 979 F. Supp. 2d 1 (D.D.C. 2013). This Court correctly

observed that “per the Constitution, no one is above the law.” Mem. Opinion (Op.) at 117 (Nov.

25, 2019), ECF No. 46. This Court should deny the Department’s request for a stay pending

appeal because the delay from such a stay would impair the House’s ongoing impeachment

inquiry.
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       As the Committee has previously described, the Mueller Report made clear that McGahn

has important information concerning President Donald J. Trump’s misconduct. The Committee

has been vigorously trying to obtain this information, which is of significant relevance to the

House’s ongoing impeachment investigation. That investigation has been proceeding rapidly

and continues to do so. Accordingly, as the Committee has emphasized, speedy judicial action is

needed to avoid hampering the House’s impeachment investigation. See Pl.’s Notice of Request

for Expedited Ruling (Nov. 19, 2019), ECF No. 45. Even if evidence from McGahn is not

obtained before the House has completed its investigation, there is still an urgent need for that

evidence because it could potentially be used if there is an impeachment trial in the Senate. The

D.C. Circuit’s decision to grant a stay pending appeal in Committee on the Judiciary v. Miers,

542 F.3d 909 (D.C. Cir. 2008), is distinguishable for these reasons. Unlike in Miers, McGahn’s

testimony is relevant to an urgent impeachment inquiry.

       Against this background, the Department cannot satisfy the standard for a stay pending

appeal. First, as to the merits, the Court’s thoughtful opinion correctly rejects the Department’s

sweeping claim that “Presidents can lawfully prevent their senior-level aides from responding to

compelled congressional process and that neither the federal courts nor Congress has the power

to do anything about it.” Op. 4.

       Second, complying with a Congressional request for testimony would not irreparably

harm McGahn or the Executive Branch. High-level Executive Branch officials routinely testify

before Congress, and during such testimony they are provided with the opportunity to assert

applicable privileges with respect to specific questions—assertions that have sufficed to protect

Executive interests.




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       Third, the balance of harms and public interest weigh against a stay. The House seeks

McGahn’s testimony as it investigates whether to impeach President Trump, and as it considers

remedial legislation to prevent future abuses of Presidential power and improper interference

with agency decisionmaking. In this case, as in others involving urgent requests for information

about President Trump’s malfeasance, the Executive Branch has sought to avoid complying with

its legal obligations to provide information to Congress through obstruction and delay. The

public has a compelling interest in ensuring that the House has full information as it exercises its

constitutional power of impeachment.

       The Committee yesterday informed the Department that it would, as a courtesy to this

Court, not oppose a seven-day administrative stay to provide this Court time to rule on the stay

motion. The Department nevertheless asserts that, “absent an intervening order from this Court

extending the stay beyond the seven days to which Plaintiff has agreed …, [the Department]

intends to seek relief from the D.C. Circuit” on Wednesday, November 27—tomorrow morning.

Def.’s Mot. for Stay Pending Appeal and for Immediate Administrative Stay at 2 (Nov. 26,

2019), ECF No. 49. It would be improper for the Department to seek a stay from the D.C.

Circuit before this Court rules. See Fed. R. App. P. 8(a)(1) (“A party must ordinarily move first

in the district court for … a stay of the judgment or order of a district court pending appeal[.]”).

Because the Committee does not oppose a seven-day administrative stay in this Court, the

Department has no basis to force this Court to resolve the motion in one day, or to short-circuit

the normal stay process by seeking relief from the D.C. Circuit before this Court has an

opportunity to rule. In the event that this Court denies a stay pending appeal and the Department

seeks that relief from the D.C. Circuit, the Committee will not oppose a seven-day administrative

stay in the D.C. Circuit to ensure that that Court has time to consider the request.



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                                           ARGUMENT

       “A stay pending appeal is always an extraordinary remedy” and is never granted as a

matter of right. Bhd. of Ry. & S. S. Clerks, Freight Handlers, Express & Station Emps. v. Nat’l

Mediation Bd., 374 F.2d 269, 275 (D.C. Cir. 1966) (per curiam). In seeking a stay, the

Department bears the burden of (1) making “a strong showing that [it] is likely to succeed on the

merits,” (2) establishing that it “will be irreparably injured absent a stay,” and (3) showing that a

stay would not substantially injure the Committee or undermine the public interest. Chafin v.

Chafin, 568 U.S. 165, 179 (2013) (quotation marks omitted). These factors weigh decisively in

the Committee’s favor here.

I.     The Department Is Unlikely to Succeed on the Merits

       For the reasons already explained by the Court, the Department is unlikely to succeed on

the merits. The Court considered the Department’s arguments and rejected them in turn,

agreeing with Judge Bates in Miers and Judge Berman Jackson in Holder that the Department’s

aggressive attempts to preclude judicial resolution of this suit lack merit, and with Judge Bates in

Miers that the Executive Branch’s absolute immunity theory is wrong.

       First, the Court correctly held that claims by Congressional committees to enforce their

subpoenas are justiciable. As the Court explained, “claims regarding the enforceability of a

subpoena raise garden-variety legal questions that the federal courts address routinely and are

well-equipped to handle.” Op. 47-48. “DOJ’s talk of ‘political turf wars’ and its soaring

protestations about the Committee’s claim being not ‘capable of judicial resolution’ obscure the

fact that issues such as whether a particular subpoena is valid and enforceable, and whether and

to what extent the recipient of such a subpoena has a legal duty to respond, are straightforward,

fully justiciable questions of law.” Op. 48 (alteration and citation omitted).



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       Second, the Court correctly held that McGahn’s defiance of the subpoena inflicts an

Article III injury on the Committee. The Court observed that “no federal judge has ever held that

defiance of a valid subpoena does not amount to a concrete and particularized injury in fact.”

Op. 69. And “the degree of harm is an order of magnitude different” where the defiance is of

Congress rather than a private party, because Congress depends on compliance to “conduct the

investigations that are necessary to perform its crucial functions of enacting legislation and

overseeing the operations of government.” Op. 71. The Court noted the “manifest inequity” of

the Department’s position, which would treat “a committee of Congress less favorably than a

litigating private citizen when it comes to identifying the appropriate mechanisms” for enforcing

a subpoena. Op. 81.

       Third, the Court correctly held that subject matter jurisdiction exists under 28 U.S.C.

§ 1331, the federal question statute. This case—an action seeking to enforce a Congressional

subpoena issued under Article I of the Constitution—plainly presents a question “arising under

the Constitution [or] laws” of the United States. 28 U.S.C. § 1331. This Court observed that the

D.C. Circuit “conclusively determined” as much in United States v. AT&T, 551 F.2d 384 (D.C.

Cir. 1976). Op. 42. And this Court further rejected DOJ’s assertion that a separate jurisdictional

provision—which grants jurisdiction over actions to enforce Senate subpoenas, see 28 U.S.C.

§ 1365—somehow revokes jurisdiction over actions to enforce House subpoenas, which the

statute does not even mention. Op. 43-44.

       Fourth, the Court correctly held that the Committee has a cause of action. As this Court

explained, the Supreme Court has held that “the power of inquiry—with process to enforce it—is

an essential and appropriate auxiliary to the legislative function,” McGrain v. Daugherty, 273

U.S. 135, 174 (1927), and Congress’s power to enforce its subpoenas is intrinsic to that function.



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Op. 79. The Court then correctly explained that, to the extent Congress needs statutory authority

“to file a lawsuit to enforce its subpoenas in vindication of its thwarted constitutional rights,”

“the Declaratory Judgment Act plainly serves that purpose.” Op. 80.

       Finally, on the merits, this Court correctly rejected the Department’s unfounded claim of

absolute immunity. As the Court explained, not only does the concept of “absolute testimonial

immunity for senior-level presidential aides ha[ve] no foundation in law,” but that concept also

“conflicts with key tenets of our constitutional order.” Op. 94. The Court held that, under

binding Supreme Court precedent, “if a duly authorized committee of Congress issues a valid

legislative subpoena to a current or former senior-level presidential aide, the law requires the

aide to appear as directed, and assert executive privilege as appropriate.” Op. 90. And the Court

correctly noted that the entire concept of “absolute testimonial immunity for senior-level White

House aides appears to be a fiction that has been fastidiously maintained over time through the

force of sheer repetition in OLC opinions, and through accommodations that have permitted its

proponents to avoid having the proposition tested in the crucible of litigation.” Op. 115.

II.    Requiring McGahn to Comply with the Committee’s Subpoena Will Not
       Irreparably Injure the Executive Branch

       The Executive Branch will suffer no irreparable harm absent a stay. Senior Executive

Branch officials routinely testify before Congress, and the Executive Branch will suffer no

harm—irreparable or otherwise—if McGahn complies with his duty to testify “and assert[s]

executive privilege as appropriate.” Op. 90. Executive Branch confidentiality will not be

vitiated if McGahn testifies while an appeal is pending. If McGahn testifies, the President will

have the opportunity to assert any applicable privilege and his assertions will in turn be subject to

judicial review. For that reason, the Department errs in suggesting that the case might become

moot absent a stay. If McGahn testifies, there is likely to be an ensuing dispute over any


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assertions of privilege. A ruling for the President at that point by this Court or on appeal could

afford full relief.

        The Department seeks support from Supreme Court decisions holding that the erroneous

denial of qualified immunity imposes a harm warranting an immediate appeal. See Mitchell v.

Forysth, 472 U.S. 511, 526-27 (1985). But those cases differ from this one because the

availability of qualified immunity has long been settled, and the question in any particular case is

whether a defendant is entitled to it. Here, by contrast, the absolute immunity asserted by the

Department is a “fiction” that is “entirely unsupported by existing case law.” Op. 91, 115. The

Department cannot bootstrap its way into a stay pending appeal by asserting a meritless theory of

absolute immunity and then claiming irreparable harm when the courts reject it.

III.    A Stay Would Harm the Committee and the Public Interest

        A. The House’s weighty interests—including in the exercise of its constitutional

authority to conduct impeachment—would be severely undermined by a stay pending appeal.

The Committee is undertaking a fast-moving inquiry into whether President Trump has

committed impeachable offenses, and McGahn is an eyewitness to some of the misconduct that

the Committee is investigating. The Executive Branch has already delayed McGahn’s testimony

for months by invoking meritless claims to absolute immunity, and if a stay pending appeal is

granted, the Committee would most likely lose the opportunity to consider that evidence before a

House vote on impeachment. Moreover, even if this case is not resolved in time for a House

vote on impeachment, the need for prompt resolution of this case would remain critical given

that the House Managers could potentially make use of McGahn’s testimony in the event of a

subsequent trial in the Senate. And, quite apart from the question of impeachment, the

Committee is urgently considering the need for remedial legislation to prevent abuses of

Presidential power and improper interference with agency decisionmaking. As the Committee
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has explained, McGahn’s testimony would be critical to informing that legislation and

conducting related oversight.

       These interests are constitutionally significant. As this Court recognized, defiance of

Congressional subpoenas prevents Congress from conducting “the investigations that are

necessary to perform its crucial functions of enacting legislation and overseeing the operations of

government.” Op. 71. And because the Executive Branch’s obstruction interferes with the “sole

Power of Impeachment” that the Constitution vests in the House, see U.S. Const., Art. I, § 2, cl.

5, a stay would subject the House to significant constitutional and institutional harm.

       B. A stay would undermine the public interest. Granting a stay could thwart the

Committee’s ability to conduct an impeachment inquiry based on all of the relevant evidence,

which in turn could compromise the public’s faith in the process. The decision whether to

impeach a sitting President is among the House’s most significant and solemn responsibilities,

and it is vital that the Committee be provided with access to the relevant facts. The Department

in previous Administrations has recognized this public interest, stating that the “need for the

House to be able to make its profoundly important judgment on the basis of all available

information is as compelling as any that could be conceived.”1 This Court should heed that

representation and reject the Department’s efforts at further delay.




       1
          Mem. for the United States at 19, Haldeman v. Sirica, 501 F.2d 714 (D.C. Cir. 1974)
(en banc) (No. 74-1364), available at https://perma.cc/9TDD-JV9T (click “View the live page,”
starting at p. 42).
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                                      CONCLUSION

       The Committee respectfully requests that the Court deny McGahn’s motion for a stay

pending appeal.

                                          Respectfully submitted,

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